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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

               Plaintiffs,
                                                    Case No. 1:17-cv-02041-RJL
     v.

BEAN LLC (a/k/a FUSION GPS) and GLENN
SIMPSON,

               Defendants,


            DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
                  PLAINTIFFS’ MOTION TO COMPEL
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I.     INTRODUCTION

       Plaintiffs Mikhail Fridman, Petr Aven, and German Khan seek to compel the production

of documents prepared in connection with research work conducted by Bean LLC d/b/a Fusion

GPS (“Fusion”) and one of its founders, Glenn Simpson (collectively, “Defendants”), on behalf of

a law firm, Perkins Coie LLP (“Perkins”), in connection with Perkins’s representation of the

Democratic National Committee (“DNC”) and the campaign of former U.S. Secretary of State

Hillary Clinton (“HFACC”) during the 2016 presidential election cycle. Plaintiffs’ arguments for

the disclosure of information developed for and at the direction of a law firm seek to disturb the

core of the attorney-client relationship. And because Perkins retained Fusion for the express

purpose of assisting the law firm with the provision of legal advice to its clients on how to proceed

in the face of a known and well-established risk of litigation, Plaintiffs’ objections implicate

material squarely protected by the attorney work-product doctrine. On both scores, Plaintiffs’

position is contrary to bedrock privilege rules and must be rejected.

       Plaintiffs do not contest that HFACC and the DNC retained Perkins to provide them with

legal advice. Nor do they dispute that there was a very real risk of litigation—evidenced by

numerous lawsuits (including this one)—emerging from allegations that surfaced during the

campaign. Instead, Plaintiffs try to draw a false distinction between Perkins’s legal representation,

on the one hand, and Defendants’ research, on the other—even though that research formed a

necessary component of Perkins’s legal advice to its clients. Plaintiffs’ remarkable position—that

documents generated by a law firm’s investigator to enable that firm’s representation of its clients

should not be entitled to any protection—directly contravenes the governing law. Documents

prepared in anticipation of litigation are work product, whether authored by an attorney or not.

See United States v. Nobles, 422 U.S. 225, 238–39 (1975). And the attorney-client privilege

extends to third parties who, like Defendants, are hired by law firms to facilitate “the effective

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consultation between the client and the lawyer.” United States v. Kovel, 296 F.2d 918, 922 (2d

Cir. 1961). As the Supreme Court has emphasized, “[p]roper preparation of a client’s case

demands that [an attorney] assemble information, sift what he considers to be the relevant from

the irrelevant facts, prepare his legal theories and plan his strategy without undue and needless

interference.” Hickman v. Taylor, 329 U.S. 495, 511 (1947). Perkins retained Defendants to

precisely those ends: to assemble information, sort relevant from irrelevant facts, and facilitate

the firm’s advice to its clients on how to proceed in the face of serious litigation risks. Plaintiffs’

motion is an attempted end run around this essential protection, targeting agents of a law firm to

obtain information that would not be available from the attorneys themselves. Should Plaintiffs

succeed, their tortured interpretations will reverberate beyond this lawsuit and frustrate attorney-

client relationships and attendant protections in this District and beyond.

       But it is even worse than that. Plaintiffs’ motion also represents an obvious effort to distract

from Plaintiffs’ own failure to comply with even their most basic discovery obligations. Plaintiffs

are three of Russia’s wealthiest and most globally prominent oligarchs, whose business and

political activities have attracted substantial international press and public scrutiny for decades.

Plaintiffs are suing Defendants for defamation based on an investigative report that was prepared

by a Fusion subcontractor during the course of Fusion’s work on behalf of Perkins and

subsequently published by certain media outlets.            Despite the fact that Plaintiffs’ own

communications are critical to the issues that they have made relevant by filing this lawsuit,

Plaintiffs have produced less than 1% of their emails and have refused to review or produce any

of the documents from the companies they control, despite putting those companies at the heart of

this litigation. Plaintiffs have also refused altogether to produce documents concerning their

historic, 20-plus-year relationship with the Kremlin, even as Plaintiffs claim to have been defamed



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by statements about that very relationship. Plaintiffs’ recalcitrance stands in stark contrast to

Defendants’ compliance with Rule 34. Defendants have reviewed personal and company materials

and produced hundreds of responsive documents. And the only documents Defendants have

excluded from production—on the basis of the attorney-client privilege and attorney work-product

doctrine—are properly included in a privilege log as discussed in Section IV(C) below.

        Plaintiffs have attempted to manufacture a false equivalency between Plaintiffs’ own

discovery failures and Defendants’ legitimate withholding of privileged work product. Defendants

have merely done what they are obligated to do—preserve client privileges. This Court should

reject Plaintiffs’ efforts to manipulate the facts and distort the law.

II.     BACKGROUND

        A.      Factual History

        Plaintiffs are the founders and beneficial owners of Alfa Group Consortium (“Alfa”), one

of Russia’s largest privately owned investment groups. An investigative report referred to as

Company Intelligence Report 2016/112 (“CIR 112”) summarized Plaintiffs’ and Alfa’s

relationship with Vladimir Putin and the Kremlin spanning more than 20 years. After Buzzfeed

published CIR 112, Plaintiffs filed this lawsuit, claiming that various statements in the report

“defamed the Plaintiffs and Alfa.” Am. Compl. ¶ 33.

        Throughout the 2016 U.S. Presidential Campaign, Perkins represented both HFACC and

the DNC in connection with a broad scope of legal issues, including potential litigation risks. This

included reviewing potential public statements by candidate Clinton, members of the campaign,

or others, and advising them on whether those statements might create a risk of defamation

litigation. In order to facilitate this work, Perkins retained numerous investigators and agencies to

review and report on the factual moorings of those statements and other allegations circulating in

the public sphere about which its clients might comment.

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       It was to facilitate this work that, in the spring of 2016, Perkins engaged Defendants to

assist in its legal representation of the DNC and HFACC. Specifically, Perkins retained Fusion to

research and analyze information that, in turn, informed Perkins’s advice to its clients concerning

litigation risks—including exposure to potential defamation claims—stemming from statements

made or to be made in connection with the 2016 election cycle. See Lewis Decl. Ex. 16 (“Levy

Decl.”), ¶ 6. Defendants, in turn, hired subcontractors to assist with compiling and assessing

relevant public records and other information. Id.

       B.      Procedural History

       Since discovery opened in this case, the parties have exchanged document requests and

responses, and produced documents. See Dkt. 95-2, Lewis Decl., Exs. 2 & 3; Dkt. 78-4, Defs.’

Reqs. for Prod. of Docs.; Dkt. 78-5, Pls.’ Resps. to Doc. Reqs. & Pls.’ Suppl. Resps. to Doc. Reqs.

       Plaintiffs’ May 4, 2020 production was deficient in two key respects. First, Plaintiffs

produced virtually no personal emails and falsely claimed they lack control over documents at the

companies they co-founded and own. Plaintiff Petr Aven produced personal emails only from

2016 and 2017, and all of them appear to be Russian news blasts. Plaintiff Mikhail Fridman

produced a handful of personal of emails, and none from before March 2015. Plaintiff German

Khan apparently has no personal emails at all. Dkt. 78-10, Ltr. from J. Levy to A. Lewis (Apr. 16,

2020). Plaintiffs Fridman and Aven, for a ten-year period, have collectively reviewed fewer than

10,000 emails total. Dkt. 78-11, Ltr. from A. Lewis to J. Levy (April 24, 2020). Plaintiffs

produced less than 1% of those emails. And Plaintiffs’ counsel represented that a significant

balance of additional materials—including any and all hard-copy documents, emails sent from an

Alfa or LetterOne email address, text messages or other communications on messaging apps,

electronic documents, calendars, and communications written on their behalf by personal

assistants—are in Alfa’s exclusive possession, custody, or control, and that Plaintiffs, despite their

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ownership roles with respect to those entities, cannot access the documents. See Dkt. 78-10, Ltr.

from J. Levy to A. Lewis (Apr. 16, 2020). Defendants moved to compel Plaintiffs’ production of

the Alfa documents, see Dkt. 78, and that motion is fully briefed and pending before the Court.

       Second, Plaintiffs have narrowly maintained that only documents related to a single year—

2016—are relevant to this case, despite the fact that events across a broader period of time bear

directly on both Plaintiffs’ status as public figures and the truth of challenged statements about the

“history” of Plaintiffs’ long-standing relationship with Vladimir Putin and the Kremlin.

Defendants therefore moved to compel production of those documents as well. See Dkt. 94.

       By contrast, Defendants have carefully met their Rule 34 party discovery obligations.

Before the production deadline, Defendants shared with Plaintiffs the list of search terms

Defendants used to review documents, which included search terms proposed by Plaintiffs. The

search terms proposed by Plaintiffs that Defendants did not incorporate were either duplicative of

other search terms or overly broad. On May 4, 2020, Defendants produced over 700 documents

comprising more than 11,000 pages. Plaintiffs, in response, asked Defendants to run additional

searches for documents using various terms of Plaintiffs’ own invention.             As a courtesy,

Defendants complied, and promptly completed a supplemental review and production on June 11,

2020. And on May 18, 2020, Defendants timely served a privilege log identifying responsive

documents excluded from production on attorney-client privilege and attorney work-product

grounds. See Lewis Decl. ¶ 10 & Ex. 7.1



1
  Desperate to find fault in Defendants’ production, Plaintiffs try to make a mountain out of a
molehill regarding the so-called “Bangor” documents—contending that Defendants simply
“refused to search for and produce responsive documents that include the term ‘Bangor.’” Pls.’
Br. at 3 n.2. Plaintiffs are flat wrong. Well before the May 4, 2020 deadline for party discovery,
Defendants ran a query for “Bangor”—as a stand-alone term—that yielded a disproportionate
number of false (i.e., irrelevant) documents. Defendants therefore tailored their inquiry to search
for documents containing the combination of terms “Bangor AND Russia.” Defendants

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       The privilege log describes each withheld document in order to facilitate Plaintiffs’

assessment of the claimed privileges. As stated, the documents reflect confidential research and

analysis that Defendants performed at the overall direction and on behalf of Perkins regarding

potential connections between then-candidate Trump and Plaintiffs and/or Alfa, and related

confidential communications. Defendants prepared those documents for the purpose and in

furtherance of Perkins’s advice to the DNC and HFACC concerning, among other things,

defamation litigation risks facing those clients and/or other individuals and entities during the 2016

election cycle. Levy Decl., ¶¶ 5–6.

       The parties worked together for months to narrow and resolve their discovery disputes.2

Defendants explained why the document descriptions in their privilege log were legally sufficient,

provided additional information regarding the anticipated litigation animating their assertion of

work-product protection, and, in the spirit of cooperation, agreed to provide a revised log with

further detail. See Lewis Decl., Ex. 9, Ltr. from J. Levy to A. Lewis (June 10, 2020), at 1–3.

Throughout this process, Defendants took pains to accommodate Plaintiffs’ requests while

avoiding any disclosure that would itself risk a privilege waiver. Defendants subsequently

produced several previously logged invoices in redacted form, see Lewis Decl., Exs. 12 & 15,




transparently explained that process to Plaintiffs on April 29, 2020, in providing a list of their
search terms that included, among others, “Bangor AND Russia.” On May 4 and May 18, 2020,
Defendants produced documents and a privilege log containing responsive documents from the
“Bangor AND Russia” search. Afterwards, Plaintiffs asked Defendants (again) to search more
broadly for any and all documents mentioning “Bangor.” Despite their prior efforts, Defendants
agreed to comply in good faith and to avoid a needless discovery dispute. As expected, having
already conducted a thorough search for responsive documents (using the “Bangor AND Russia”
terms along with over two dozen other search strings catalogued in the list Defendants provided to
Plaintiffs), Defendants did not locate additional responsive documents—privileged or otherwise.
2
  See Dkts. 78-7–78-18, Meet and Confer Correspondence; see also Lewis Decl., Ex. 10, Ltr. from
A. Lewis to J. Levy (June 25, 2020) (“June 25 Letter”); id., Ex. 11, Ltr. from A. Lewis to J. Levy
(July 22, 2020); id. Ex. 12, Ltr. from J. Levy to A. Lewis (July 28, 2020).

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along with a revised log and a declaration from Defendants’ counsel further explaining the grounds

for the privileges invoked, Lewis Decl., Exs. 13 & 16.

       Despite Defendants’ extensive efforts to substantiate their well-founded privilege claims,

Plaintiffs continue to accuse Defendants of improperly refusing to produce documents without

justification. Those accusations are baseless. Defendants have appropriately withheld privileged

documents in accordance with their obligations under the engagement. And—as Plaintiffs’ motion

to compel itself confirms—Defendants have supplied the information necessary for Plaintiffs (and

the Court) to assess the bases for Defendants’ privilege invocations, without risking waiver.

III.   LEGAL STANDARD

       A party seeking to compel production under Federal Rule of Civil Procedure 37 “has the

burden of proving that the opposing party’s answers were incomplete.” Equal Rights Ctr. v. Post

Props., Inc., 246 F.R.D. 29, 32 (D.D.C. 2007). Where a party withholds documents on privilege

grounds, that party bears the burden of establishing that the relevant protection applies. See Elkins

v. Dist. of Columbia, 250 F.R.D. 20, 24, 26 (D.D.C. 2008). In carrying its burden, the asserting

party can rely on “declarations or other competent evidence addressing or relating to specific

documents which, together with the content of the documents and the other information supplied,

[are] sufficient to demonstrate that the privilege or protection is applicable.” In re Domestic Airline

Travel Antitrust Litig., No. 15-MC-1404, 2020 WL 3496748, at *4 (D.D.C. Feb. 25, 2020).

IV.    ARGUMENT

       A.      The Withheld Documents Are Protected by the Work-Product Doctrine.

       Plaintiffs’ entire motion proceeds from a fundamental misrepresentation of Defendants’

role as Perkins’s agent. Perkins expressly retained Defendants in furtherance of its undisputed

legal representation of HFACC and the DNC—relying on Defendants’ investigative expertise to

ensure that its clients had an “adequate factual basis for any claims or allegations” made during

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the campaign. Levy Decl., ¶ 6. Such expertise was critical for Perkins to address the anticipated

“risk of civil litigation—including, for example, libel, defamation, or other claims implicating the

accuracy of public information.” Id. Stated simply, Perkins and its clients foresaw the risk that

public allegations raised during the intensely contested presidential campaign could—and

ultimately did—lead to litigation. See infra at 10. To advise its clients appropriately, Perkins

needed to understand the import of those allegations and so retained Defendants to conduct

targeted research and analysis. Documents generated in furtherance of that engagement fall within

the heart of the work-product doctrine, and Plaintiffs’ effort to undermine that protection is

unfounded.3

               1.      The Documents at Issue Were Prepared in Anticipation of Litigation

       The work-product doctrine shields from discovery “documents and tangible things that are

prepared in anticipation of litigation or for trial by or for [a] party or its representative.” Fed. R.

Civ. P. 26(b)(3)(A). The doctrine is an “intensely practical one,” Nobles, 422 U.S. at 238, which

the D.C. Circuit has cautioned must be “interpreted broadly and held largely inviolate,” Jud.

Watch, Inc. v. Dep’t of Justice, 432 F.3d 366, 369 (D.C. Cir. 2005). Consistent with that broad

scope, the Supreme Court has long held that work-product protection extends beyond lawyers to

“material prepared by agents for the attorney”—such as Defendants—as “attorneys often must rely

on the assistance of investigators and other agents in the compilation of materials in preparation

for trial.” Nobles, 422 U.S. at 238–39; see also FTC v. Boehringer Ingelheim Pharm., Inc., 778

F.3d 142, 155 n.3 (D.C. Cir. 2015) (noting that amendments to the Federal Rules “abolished the

distinction between factual materials prepared by counsel and those prepared by non-attorneys”).




3
  Plaintiffs expressly decline to press their claim that they have a “substantial need” for the
documents at issue, Pls.’ Br. at 21, and so Defendants do not address that point here.

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       Whether a document constitutes work product turns on “whether, in light of the nature of

the document and the factual situation in the particular case, the document can fairly be said to

have been prepared or obtained because of the prospect of litigation.” United States v. Deloitte

LLP, 610 F.3d 129, 137 (D.C. Cir. 2010) (internal quotation marks and citation omitted). Under

that standard, the party that “prepared the document must have possessed ‘a subjective belief that

litigation was a real possibility, and that belief must have been objectively reasonable.’” Campbell

v. U.S. Dep’t of Justice, 133 F. Supp. 3d 58, 67 (D.D.C. 2015) (Leon, J.) (quoting In re Sealed

Case, 146 F.3d 881, 884 (D.C. Cir. 1998)); see also Nat’l Ass’n of Crim. Def. Lawyers v. Exec.

Office for U.S. Attorneys, 844 F.3d 246, 251 (D.C. Cir. 2016) (same). “[L]itigation need not be

imminent or certain” in order to be anticipated; instead, it must only be “fairly foreseeable at the

time the materials were prepared,” and documents designed to “discern the likelihood and

magnitude of [] future [] liability” are work product, irrespective of whether the contemplated

claim is then pending. United States v. All Assets Held at Bank Julius Baer & Co., 315 F.R.D.

103, 109, 111 (D.D.C. 2016) (internal quotation marks and citation omitted).

       The work-product doctrine clearly protects the documents at issue here. Defendants were

retained in direct response to Perkins’s subjectively held and objectively reasonable concern that

statements made during the 2016 election campaign might result in defamation litigation. As

Defendants explained in a sworn declaration substantiating their privilege invocations, at the time

Perkins secured Defendants’ services, Perkins “anticipated the potential for [libel, defamation, or

other claims implicating the accuracy of public information] in connection with its representation

of the DNC and HFACC” and retained Defendants “to facilitate and provide information




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necessary” to inform Perkins’s “legal advice . . . concerning [those] potential litigation risks.”4

Levy Decl., ¶¶ 5–6.

         Perkins’s concerns were well founded. Recent years have seen numerous high-profile

defamation suits and similar litigation stemming from allegations made during political campaigns

at all levels.5 See, e.g., Kate Irby, Can Devin Nunes Sue California Publisher in Virginia? Judge

Wants      to   Know     More    from     McClatchy,      THE    FRESNO    BEE   (Feb.    12,   2020),

https://tinyurl.com/y6kzv4q7; Kim Chandler, Roy Moore Defamation Lawsuit against Accusers Is

Paused, ABC NEWS (Aug. 16, 2019), https://tinyurl.com/y628e39f; John Nickerson, Stamford

Judge      to   Decide   Norwalk     Free    Speech      Suit,   ASSOC. PRESS    (Feb.    16,   2019),

https://tinyurl.com/yxnc52y5. And, as Perkins anticipated, that litigation risk was particularly

sharp during the 2016 presidential campaign, in which then-candidate Trump’s reputation for

litigiousness was both well-known and on display to his opponents. See, e.g., Nick Penzenstadler

& Susan Page, Exclusive: Trump’s 3,500 Lawsuits Unprecedented for a Presidential Nominee,

USA TODAY (June 1, 2016), https://tinyurl.com/y46evk32 (describing volume of lawsuits filed by

Mr. Trump for, inter alia, personal defamation, including “at least 70 cases” filed since campaign

launch); see also, Katie Reilly, Donald Trump Says He Will Sue Sexual Misconduct Accusers. Law

Experts Have Doubts., TIME MAGAZINE (Oct. 22, 2016), https://tinyurl.com/y2laeco2; Jeremy

Diamond,        Trump    Threatens   to     Sue   over      Attack   Ad,   CNN    (Oct.    5,   2016),

https://tinyurl.com/y6ptz6k8. Facing this clear and present threat of litigation targeting campaign



4
    Defendants’ April 1, 2016 engagement letter with Perkins is included in the Privilege Log.
5
 The allegations at issue in this case have also been the subject of other (now-dismissed) lawsuits.
See Josh Gerstein, Judge Tosses Another Carter Page Suit against DNC over Dossier, POLITICO
(Aug. 17, 2020), https://tinyurl.com/y68rkflf. The D.C. Circuit has considered that a party’s “fear
of litigation was eventually confirmed” by later litigation in assessing objective reasonableness.
EEOC v. Lutheran Soc. Servs., 186 F.3d 959, 969 (D.C. Cir. 1999).

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speech, Perkins’s concern over the prospect of defamation litigation—in which truth and the

absence of actual malice would be central issues6—was more than reasonable. And the documents

Defendants generated in anticipation of those potential claims are protected work product.

               2.     Plaintiffs’ Objections Misstate Both the Scope of Work-Product
                      Protection and the Nature of Defendants’ Work.

       Plaintiffs do not actually contest the risk of litigation foreseen by Perkins. Nor could they,

given their own decision to bring a suit of precisely the type Perkins anticipated.7 Instead,

Plaintiffs argue that because the DNC and HFACC had not already been sued at the time Fusion

was hired, and because Defendants’ work purportedly also served the political objectives of

Perkins’s clients and was therefore not prepared solely in anticipation of litigation, the work

product Fusion generated is somehow stripped of protection. Plaintiffs are wrong on both the facts

and the law.

       First, the D.C. Circuit has explicitly rejected Plaintiffs’ contention that Defendants must

establish a particular “date on which Perkins Coie’s clients received a demand or warning that a

claim was in prospect” in order for work-product protection to apply. Pls.’ Br. at 22. Contrary to

Plaintiffs’ position, the D.C. Circuit has “long held that there is no general, overarching

requirement that a [] document can fall within the work-product privilege only if prepared in




6
 “[S]ubstantial truth is a defense to defamation.” Moldea v. N.Y. Times Co., 22 F.3d 310, 318
(D.C. Cir. 1994).
7
 The fact that the litigation which eventually emerged targeted other defendants and other actors,
and not only the DNC or HFACC, is irrelevant for purposes of assessing whether work-product
protection applies. See Bank Julius Baer, 315 F.R.D. at 111 n.3 (“[T]he question has never been
whether the document was prepared in anticipation of the instant litigation, only whether it was
prepared in anticipation of any litigation.” (emphasis in original)).


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anticipation of litigating a specific claim.”8 Nat’l Ass’n of Crim. Def. Lawyers, 844 F.3d at 253.

Indeed, “[i]t is often prior to the emergence of specific claims that lawyers are best equipped either

to help clients avoid litigation or to strengthen available defenses should litigation occur”—and

imposing the “specific claim” requirement Plaintiffs advocate would therefore “severely limit[]

[attorneys’] ability to advise clients effectively.” In re Sealed Case, 146 F.3d at 886. That

reasoning applies with particular force here: In responding to a perceived risk of defamation

litigation, it is vital that work product concerning the accuracy of allegations present a candid

picture. Plaintiffs’ effort to probe that work product would discourage candor and undermine the

protections at the privilege’s core. See id. at 886–87 (“Discouraging lawyers from engaging in the

writing, note-taking, and communications so critical to effective legal thinking would, in

Hickman’s words . . . [,] ‘demoralize’ the legal profession, [and] ‘the interests of the clients and

the cause of justice would be poorly served.’” (citation omitted)).9

       Against that well-defined backdrop, Plaintiffs’ brief cites extensively to In re Rail Freight

Fuel Surcharge Antitrust Litigation, 268 F.R.D. 114 (D.D.C. 2010), for the proposition that a work

product claimant must establish the date of the claim, demand, or charge against them. See Pls.’



8
 The “specific claim” standard is employed only in cases of “active investigations of potential
wrongdoing” by government investigators. See Shapiro v. U.S. Dep’t of Justice, 969 F. Supp. 2d
18, 30 (D.D.C. 2013) (citing In re Sealed Case, 146 F.3d at 885).
9
  In a last-ditch effort to salvage their argument, Plaintiffs contend that Defendants’ routine
practice of destroying documents following an engagement—here, after the conclusion of the 2016
election—demonstrates that no litigation was ever contemplated. Pls.’ Br. at 23. In support, they
cite an unpublished, out-of-district decision evaluating a spoliation motion in light of properly
invoked work-product protection. See Sinai v. State Univ. of N.Y. at Farmingdale, 2010 WL
3170664, at *5 (E.D.N.Y. Aug. 10, 2010). Even if Plaintiffs had proven spoliation—and they have
not, see, e.g., Mannina v. Dist. of Columbia, 437 F. Supp. 3d 1, 6 (D.D.C. 2020) (noting that
spoliation requires a showing of a “culpable state of mind”)—that fact would be irrelevant.
Defendants are not aware of a single case in this District or elsewhere treating a party’s
preservation of documents as a factor, let alone a dispositive factor, in evaluating whether those
same documents were susceptible to work-product protection.

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Br. at 20, 22. Plaintiffs conspicuously neglect to mention that the language they rely on comes

from a 1979 special masters’ privilege guideline that the Rail Freight decision examined for an

entirely different issue and then declined to follow as non-precedential. Rail Freight Fuel

Surcharge, 268 F.R.D. at 118 (“More to the point, guidelines by Special Masters . . . are not

controlling precedent.”).

       Second, the assertion that Defendants’ research advanced purported non-litigation

interests, even if taken as true, in no way forecloses application of the work-product doctrine.

According to Plaintiffs, Defendants’ analysis generated “opposition research” to be used against

the DNC’s and HFACC’s political opponents. That assertion rests primarily on Plaintiffs’ own

unadorned say-so. See Pls.’ Br. at 4. Plaintiffs do not, and cannot, cite to any examples of the

DNC or HFACC distributing or referencing Fusion materials in their own public communications,

demonstrating that the primary use of their work was not as traditional opposition research.

Regardless, it is a settled principle that “material generated in anticipation of litigation may also

be used for ordinary business purposes without losing its protected status.” Deloitte, 610 F.3d at

138. Defendants have offered ample evidence that Perkins and its clients were genuinely and

reasonably concerned about potential litigation arising from public statements and therefore relied

on Defendants to assess the factual basis for any such statements. Thus, “[e]ven if accurate,”

Plaintiffs’ speculative “recharacterization of [Perkins’s] motivation” for retaining Defendants

misses the point, as it “does nothing to undermine [Defendants’] contention that [they] genuinely

feared litigation.” Lutheran Soc. Servs., 186 F.3d at 968–69. In any event, Plaintiffs’ conjecture

that Defendants’ work was created solely as political opposition research is not only unsupported

but—in light of the fact that the DNC and HFACC are not alleged to have disclosed its contents—




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illogical. See Am. Compl. ¶ 5 (asserting that the “entire purpose of ‘oppo research’” is for it to be

“published and republished”).

       By the same token, Plaintiffs contend that Defendants’ position would render all opposition

research “privileged because errors in the research expose[] the political candidate to libel or

defamation claims.” Pls.’ Br. at 21. That assertion turns the correct analysis on its head. The

materials at issue here are protected not because they created a risk of litigation, but rather because

they responded to the very real likelihood of litigation.10 Plaintiffs have not alleged that either

HFACC or the DNC publicly disclosed Defendants’ research. And that confidential treatment,

nowhere addressed in Plaintiffs’ brief, is both entirely consistent with the reason Perkins retained

Defendants—to collect information informing the firm’s judgments and legal advice to its

clients—and entirely inconsistent with Plaintiffs’ assertion that Fusion’s reports were intended for

public dissemination to political ends.

       Because the work product identified on Defendants’ privilege logs was prepared in light of

a genuinely held and objectively reasonable expectation of potential litigation, it is protected from

disclosure. Plaintiffs’ motion to compel production of those materials should therefore be denied.

       B.      The Withheld Documents Are Protected by the Attorney-Client Privilege.

       The majority of Defendants’ communications are likewise covered by the attorney-client



10
   Plaintiffs’ contention betrays a second misconception—that allegations concerning Russian
efforts to interfere in the U.S. election were “created by Defendants.” Pls.’ Br. at 21. In truth, the
FBI had been investigating allegations of Russian interference since at least 2015, see Matthew
Nussbaum, The Definitive Trump-Russia Timeline of Events, POLITICO (Mar. 3, 2017),
https://tinyurl.com/yyqu4jpw; S. Select Comm. On Intelligence, Russian Active Measures
Campaigns and Interference in the 2016 U.S. Election, Vol 5: Counterintelligence Threats and
Vulnerabilities, S. Rep. No. 116-XX, at 821 (2020). (“From August 2015 until early May 2016,
the FBI attempted to assist the DNC in recognizing and responding to Russian intrusions into the
DNC network.”), and that topic was the subject of intense interest months before Plaintiffs allege
Defendants’ research was released, see, e.g., Eric Lichtblau et al., Russian Spies Said to Hack
Clinton’s Bid, N.Y. TIMES, at A1 (July 30, 2016).

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privilege, given their central import to Perkins’s provision of legal advice to its clients, and were

properly withheld on that independent basis. Plaintiffs’ narrow construction—requiring direct

attorney involvement and a strict recitation of client confidences in each individual document—is

contrary to well-settled law and would eviscerate the privilege for most legal communications.

       The attorney-client privilege exists to “encourage full and frank communication between

attorneys and their clients and thereby promote broader public interests in observance of law and

administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). To further that

purpose, the D.C. Circuit has established a “liberal standard,” FTC v. Boehringer Ingelheim

Pharm., Inc., 180 F. Supp. 3d 1, 30 (D.D.C. 2016), under which a confidential communication is

insulated from disclosure if “obtaining or providing legal advice was one of the significant

purposes of the . . . communication,” In re Kellogg Brown & Root, Inc. (“KBR”), 756 F.3d 754,

760 (D.C. Cir. 2014) (Kavanaugh, J.) (emphasis added).

       Federal courts applying the privilege have “consistently included communications of the

attorney to the client as well as vice versa.” Mead Data Cent., Inc. v. U.S. Dep’t of the Air Force,

566 F.2d 242, 254 n.25 (D.C. Cir. 1977). And the same protection extends to communications by

third parties that counsel hires to facilitate “effective consultation between the client and the

lawyer[.]” Kovel, 296 F.2d at 922. Thus, “communications made by and to non-attorneys serving

as agents of attorneys . . . are routinely protected by the attorney-client privilege.” KBR, 756 F.3d

at 758. And while the privilege generally covers “reports of third parties made at the request of

the attorney or the client where the purpose of the report was to put in usable form information

obtained from the client,” FTC v. TRW, Inc., 628 F.2d 207, 212 (D.C. Cir. 1980), the D.C. Circuit

has stressed that “the critical factor for purposes of the attorney-client privilege [is] that the

communication be made ‘in confidence for the purpose of obtaining legal advice from the



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lawyer,’” Linde Thomson Langworthy Kohn & Van Dyke, P.C. v. Resolution Tr. Corp., 5 F.3d

1508, 1514 (D.C. Cir. 1993) (quoting Kovel, 296 F.2d at 922).

       Kovel thus “has been construed broadly to include individuals who assist attorneys in

providing legal services, such as . . . investigators, interviewers, technical experts, accountants,

physicians, patent agents, and other specialists in a variety of social and physical sciences.” Gucci

Am., Inc. v. Guess?, Inc., 271 F.R.D. 58, 71 (S.D.N.Y. 2010) (internal citations and quotations

omitted). Specifically, communications of third-party fact investigators retained by lawyers

qualify for the attorney-client privilege because they “giv[e] . . . information to . . . lawyer[s] to

enable [them] to give sound and informed advice.” Upjohn, 449 U.S. at 390. Recognizing that

there are many “problem[s] with which [attorneys] need[] outside help related to their provision

of . . . legal advice,” courts have also extended the privilege to communications by, for example,

public relations consultants because “the ability of lawyers to perform some of their most

fundamental client functions . . . such as . . . advising the client of the legal risks of speaking

publicly . . . would be undermined seriously if lawyers were not able to engage in frank discussions

of facts and strategies with the lawyers’ public relations consultants.” In re Grand Jury Subpoenas

Dated Mar. 24, 2003, 265 F. Supp. 2d 321, 326, 330 (S.D.N.Y. 2003) (emphasis added).

       These principles are dispositive here.         Defendants’ non-attorney employees (and

subcontractors) served an essential role in promoting “effective consultation between” Perkins and

its clients, and their communications in furtherance of that representation are therefore privileged.

Kovel, 296 F.2d at 922. As established above, HFACC and the DNC retained Perkins to provide

legal advice related to, inter alia, potential exposure to defamation-based claims, Levy Decl., ¶¶ 7–

8, 12, requiring Perkins to determine whether allegations in the public sphere on which its clients

might comment were true. Its investigative expertise rendered Fusion “necessary for Perkins’s



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provision of legal advice” in this regard, id. ¶¶ 5–6 (emphasis added), because without the

information Defendants provided, Perkins could not have advised HFACC and the DNC regarding

whether making certain statements would expose them to potential defamation-based claims. See

Gucci, 271 F.R.D. at 71 (“[W]ere an attorney required to exclude investigators from the circle of

confidentiality in order to maintain the privilege, providing legal advice to clients would be

difficult, if not in some cases impossible.”); In re Grand Jury Subpoenas, 265 F. Supp. 2d at 330

(holding communications by third-party public relations firm were protected by attorney-client

privilege because its services were necessary for the lawyer to “advis[e] the client of the legal risks

of speaking publicly”). Accordingly, the attorney-client privilege covers Defendants’ confidential

communications.

               1.      Defendants Were Engaged to Assist Perkins in Its Provision of Legal
                       Advice.

       Echoing their objection to work-product protection, Plaintiffs first claim that the

communications at issue are not subject to the attorney-client privilege because Defendants

performed non-legal political opposition research for the 2016 election. Pls.’ Br. at 16–18. As

discussed supra, however, there is no support in the record for Plaintiffs’ position that Defendants’

only (or even primary) function was political. For privilege to attach, it is not necessary that the

provision of legal advice be the exclusive purpose of covered communications; instead, the

relevant consideration is whether “obtaining or providing legal advice [was] . . . one of the

significant purposes of the communication.” KBR, 756 F.3d at 760 (emphasis added). That

prerequisite is satisfied here—Perkins hired Defendants “to . . . provide information necessary for

Perkins’s provision of legal advice to the DNC and Hillary for America concerning potential

litigation risks relating to information distributed in connection with the 2016 election cycle,”

including “libel, defamation, or other claims implicating the accuracy of public information.”


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Levy Decl., ¶¶ 5–6 (emphasis added). Because “one of the significant purposes of [Fusion’s

engagement] was to . . . provide legal advice, the privilege . . .appl[ies].” KBR, 756 F.3d at 760.

                2.      Fusion’s Communications Furthered Confidential Client Requests for
                        Legal Advice and Are Therefore Privileged.

        Plaintiffs claim that the attorney-client privilege should narrowly cover only

communications expressly reciting “confidential information [Perkins] learned from its clients.”

Pls.’ Br. at 16, 18–19. According to Plaintiffs, Defendants’ communications are not privileged

because Fusion gathered information from sources other than Perkins’s clients—including

publicly available records and information gathered by its subcontractors. Id. at 16. Plaintiffs’

restrictive formulation drastically overstates the privilege’s limitations.

        In the D.C. Circuit, the attorney-client privilege extends not only to attorney

communications that convey client confidences, but also those which are “based, in part at least,

upon a confidential communication to the lawyer from the client.” In re Sealed Case, 737 F.2d

94, 99 (D.C. Cir. 1984) (internal alterations and citation omitted). Consistent with that principle,

courts have “taken an expansive view of protected communications between independent

contractors and counsel.” In re CV Therapeutics, Inc. Sec. Litig., 2006 WL 1699536, at *7 (N.D.

Cal. June 16, 2006). And “[f]actual investigations conducted by an [attorney’s] agent clearly fall

within the attorney-client rubric.” Gucci, 271 F.R.D. at 71 (internal quotations and citation

omitted); see also McCaugherty v. Siffermann, 132 F.R.D. 234, 239 (N.D. Cal. 1990) (finding the

privilege could apply to consultants that “provide[d] information . . . in order [for the] law firm . . .

to provide its clients . . . with fully informed legal advice.”).

        Contrary to Plaintiffs’ unduly narrow view, communications need not be based on a client’s

confidential information, but only on the client’s confidential communication for the purpose of

obtaining legal advice. Under the correct formulation, attorney communications reflecting a


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client’s request for legal advice, even if unaccompanied by “confidential information,” thus merit

protection. See, e.g., United States v. Singhal, 800 F. Supp. 2d 1, 8–9 (D.D.C. 2011) (an attorney’s

email stating “as requested” could be privileged to the extent it implicitly reflected a request for

legal advice). That principle applies here: Communications among Fusion employees and with

Perkins were based, in part at least, upon the DNC’s and HFACC’s requests for legal advice

regarding subjects on which they might wish to comment publicly. For privilege purposes, it is

irrelevant whether Perkins’s advice in response to that request included information gathered from

HFACC and the DNC or elsewhere.

               3.      Communications with Non-Lawyers Are Still Privileged.

       Plaintiffs also make the categorical argument that communications not including attorney

senders or recipients necessarily cannot qualify as privileged. Pls.’ Br. at 16. Specifically,

Plaintiffs argue that internal Fusion correspondence or communications with Defendants’

subcontractors are inherently exempt from protection. Not so.

       In this Circuit, the attorney-client privilege applies not only to communications between

counsel and “agents of the attorney,” TRW, 628 F.2d at 212, but also to communications among

the attorney’s agents in furtherance of rendering legal advice, see Boehringer, 180 F. Supp. 3d at

34. As explained in Boehringer: “The same protections afforded to communications between

counsel and client extend to communications between corporate employees who are working

together to compile facts for . . . counsel to use in rendering legal advice.” Id.; see also AT&T

Corp. v. Microsoft Corp., No. 02-0164, 2003 WL 21212614, at *3 (N.D. Cal. Apr. 18, 2003)

(“Communications between non-lawyer employees about matters [on] which the parties intend to

seek legal advice are likewise cloaked by attorney-client privilege”).11 To accept Plaintiffs’


11
  None of the emails on the privilege log were with parties outside of the privileged relationship.
For example, Nellie Ohr (PRIV0000058 & PRIV0000063), Edward Baumgartner (PRIV0000122),

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premise would drastically inhibit the ability of attorneys to engage and rely on subject-matter

experts in developing and providing legal advice to their clients.12

               4.      There Has Been No Waiver.

       In a desperate finale, Plaintiffs argue that Defendants waived the attorney-client privilege

by disclosing certain related information to third-party media outlets and in Mr. Simpson’s book,

Crime in Progress. Pls.’ Br. at 19. Plaintiffs describe these purported disclosures in broad-brushed

terms—suggesting, for example, that Mr. Simpson “briefed journalists” regarding “the contents”

of the so-called Dossier. Id. But even if Plaintiffs could establish specific third-party disclosures

of the particular communications at issue here (and they have not done so), Defendants could not

have waived privileges that they themselves did not own. “[I]t is axiomatic that the attorney-client

privilege is held by the client[s]”—here, HFACC and the DNC. Nat’l Sec. Counselors v. Central

Intelligence Agency, 2020 WL 4590548, at *4 (D.C. Cir. Aug. 11, 2020). And the privilege can

be waived only where there has been a “voluntary disclosure by the holder of [the] privilege.” In

re Subpoena Duces Tecum, 738 F.2d 1367, 1369 (D.C. Cir. 1984). Plaintiffs allege disclosures




Christopher Steele (PRIV0000207), and Lloyd Greene (PRIV0000363) were Defendants’
subcontractors subject to the engagement of Fusion by Perkins, and their communications
therefore are protected. See Twentieth Century Fox Film Corp. v. Marvel Enters., Inc., 2002 WL
31556383, at *2 (S.D.N.Y. Nov. 15, 2002) (“The fact that the nature of the industry dictates the
use of independent contractors over employees should not . . . create greater limitations on the
scope of the attorney-client privilege.”); see also Levy Decl., ¶ 6 (noting Defendants “review[ed]
and analy[zed] . . . publicly available records and compil[ed] and assess[ed] information gathered
by its subcontractors”). Plaintiffs themselves have identified one of the recipients, Christopher
Steele, as one of Defendants’ subcontractors, see Am. Compl. ¶ 3, and Plaintiffs’ argument now
should be rejected as nothing more than a manipulative litigation effort.
12
   Plaintiffs argue that two emails (PRIV0000480 and PRIV0000483) were mistakenly described
as “Confidential communication with counsel in anticipation of litigation, and for the purpose of
obtaining legal advice,” because “no attorney is even listed as being included on the
communication.” Pls.’ Br. at 9 n.8. Not so. In those two emails, a Fusion employee forwarded to
another Fusion employee a Word document from counsel containing privileged communications
with the client.

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only by Fusion employees—not by Perkins, and not by HFACC and the DNC as the privilege

holders. Accordingly, Plaintiffs’ vague allegations of Defendants’ purported disclosure to third

parties, even if taken as true, fail to support a finding of waiver in this case.13

        C.      The Privilege Logs Are Not Deficient, and Plaintiffs’ Motion Confirms
                Plaintiffs Have Enough Information to Assess Defendants’ Privilege Claims.

        Plaintiffs’ arguments regarding Defendants’ original and supplemental privilege logs

amount to immaterial quibbling. Several of the purported “deficiencies” Plaintiffs identify are

simply byproducts of their distortions of the law. For instance, Plaintiffs assert without any legal

basis that entries are insufficient because they do not identify specific litigation or because entries

include communications between non-attorneys and with “third-parties” (who were in fact agents

in the privileged relationship). See Pls.’ Br. at 13–14; supra at 12–13, 19–20.

        More fundamentally, Plaintiffs talk out of both sides of their mouths. They at once assert

that the privilege logs (and accompanying declaration) lack sufficient detail for them to assess

Defendants’ privilege and work-product assertions while, in the same breath, proceed to challenge

those very assertions. Defendants have provided the information Plaintiffs need to assess the

privilege claims, and Plaintiffs’ technical objections should be rejected.

                1.      The Logs and Accompanying Declaration Are Sufficient to Enable
                        Plaintiffs to Assess Defendants’ Privilege Claims.

        The Federal Rules of Civil Procedure require a party claiming privilege over withheld

documents to “expressly make the claim” and “describe the nature of the documents . . . in a

manner that, without revealing information itself privileged or protected, will enable other parties



13
  Plaintiffs do not claim that Defendants waived work-product protection, nor can their arguments
regarding attorney-client privilege waiver be carried over to the work product context. “It is
hornbook law that waiver of the attorney-client privilege should always be analyzed distinctly
from waiver of work product.” In re Kellogg Brown & Root, Inc., 796 F.3d 137, 145 (D.C. Cir.
2015) (internal quotation marks, alterations, and citation omitted).

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to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A). That description “need not always include all

specifics that might ultimately be necessary to resolve” a privilege dispute. 8 Charles Alan Wright

& Arthur R. Miller, Fed. Prac. & Proc. Civ. § 2016.1 (3d ed. 2008). Rather, the asserting party

bears a “threshold burden to show [their] entitlement to a ruling on the existence of a privilege.”

In re Subpoena Duces Tecum Issued to Commodity Futures Trading Comm’n, 439 F.3d 740, 750

(D.C. Cir. 2006). And while that burden is “frequently” satisfied through the use of a privilege

log, Feld v. Fireman’s Fund Ins. Co., 991 F. Supp. 2d 242, 248 (D.D.C. 2013), the proponent can

bolster its claim through declarations or affidavits elaborating on the basis for seeking protection,

cf. NLRB v. Jackson Hosp. Corp., 257 F.R.D. 302, 309 (D.D.C. 2009) (“Agencies seeking to

invoke the deliberative process privilege commonly do so through a combination of privilege logs

that identify specific documents, and declarations from agency officials explaining what the

documents are and how they relate to the decisions.”); In re Apollo Grp., Inc. Sec. Litig., 251

F.R.D. 12, 31, vacated on other grounds (D.D.C. 2008) (sustaining privilege claims based on

information provided in a log and accompanying declarations regarding the specific subject of the

communications at issue).

       Defendants have provided sufficient information for Plaintiff to assess the claims of

protection or privilege as to each document. Defendants’ sworn declaration details the basis for

work-product protection, including: (1) Defendants’ retention by Perkins to assist in the firm’s

ongoing representation of HFACC and the DNC, Levy Decl., ¶ 6; (2) the potential litigation

concerns that served as the impetus for that relationship, id. ¶ 5; and (3) the causal nexus between

Defendants’ retention and research and Perkins’s legal advice, id. ¶ 6-8. Compare Levy Decl.,

¶¶ 3–8, 12 (describing the timing of the engagement, subject matter of Defendants’ research, and

the import of that research to Perkins’s legal representation), with In re Veiga, 746 F. Supp. 2d 27,



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39 (D.D.C. 2010) (deeming insufficient a declaration that “consist[ed] almost exclusively of

conclusory and empty invocations of privilege”). The declaration likewise substantiates the

attorney-client relationship and describes—without disclosing privileged information—the nature

of the confidential facts communicated and the subject matter of the legal advice sought and

provided. Levy Decl., ¶¶ 4–6, 8, 12.

       Coupled with the declaration, the supplemental log adds the information necessary to

understand how each withheld document fits into the claimed protections—identifying the nature

of each withheld document, the fact that the documents were kept confidential and, where

applicable, sender and recipient information that elucidates the documents’ origins. Taken

together, those facts allow Plaintiffs to understand Defendants’ basis for withholding, both

categorically and as to the individual documents listed in the log. See, e.g., Campbell, 133 F. Supp.

3d at 67 (stating that a party withholding claimed work product must “(1) provide a description of

the nature of and contents of the withheld document, (2) identify the document’s author or origin,

(3) note the circumstances that surround the document’s creation, and (4) provide some indication

of the type of litigation for which the document’s use is at least foreseeable”); Mannina v. Dist. of

Columbia, No. 15-cv-931, 2019 WL 1993780, at *6 (D.D.C. May 6, 2019) (“The log clearly

identifies the documents, the senders and recipients where applicable, and includes a descriptive

narrative describing the reasons for redacting or withholding each document.”).

               2.      The Purported Technical Deficiencies Do Not Prevent Plaintiffs from
                       Assessing the Claims Asserted.

       Plaintiffs’ motion confirms that Plaintiffs have enough information to ascertain—and

contest—the basis for Defendants’ assertions of privilege and work-product protection. Plaintiffs

nonetheless highlight a mishmash of purported technical deficiencies in hopes of piercing the

privilege barrier and obtaining discovery. Plaintiffs’ potpourri of objections includes complaints


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that multiple entries share a common narrative, are listed by type (e.g., “email,” “attachment”), or

lack subject lines, dates, or author information. Pls.’ Br. at 12–14.14 Those objections ignore cases

from this District rejecting substantially similar challenges where, as here, the information

furnished by the proponent was sufficient to enable the opponent to “assess the claim.” See, e.g.,

Texas v. Holder, No. 12-128, 2012 WL 13070060, at *5 (D.D.C. June 5, 2012) (approving of

duplicative descriptions of “[c]onfidential communication[s] . . . made for the purpose of giving

or seeking legal advice” as “sufficiently described to enable [the opponent] ‘to assess the claim [of

privilege]’”); Feld, 991 F. Supp. 2d at 247 (approving document types listed as “email, attachment,

or standalone computer file”); Apollo Grp., 251 F.R.D. at 31 (concluding that email subject lines

need not be provided because they “often do not convey information concerning the specific matter

being discussed”); Jud. Watch, Inc. v. Comm’n on U.S.-Pac. Trade and Inv. Pol., No. 97-0099,

1999 WL 33944413, at *8 (D.D.C. Sept. 30, 1999) (“The fact that the legal basis for the assertion

of privilege is repeated throughout the index is not dispositive[.]”).15

       At base, Plaintiffs’ objections are nothing more than an attempt to skirt the fact the

information already furnished is sufficient to “assess the basis” for Defendants’ claims. Fed. R.

Civ. P. 26(b)(5)(A). For example, while various “loose documents” were not identified by title,


14
   Plaintiffs’ brief notes that two of the entries which had dates in the original log were not dated
in the supplemental log. Pls.’ Br. at 6 n.3. That change resulted from a scrivener’s error in the
computer program used to generate the supplemental log, and Defendants provided the correct
dates to Plaintiffs after reviewing the present motion.
15
  In the same vein, Plaintiffs repeatedly suggest that Defendants’ recent production of previously
withheld invoices and cover emails “calls into serious question” the accuracy of other privilege
log entries. In fact, those disclosures prove the opposite: Though Plaintiffs fail to mention it,
Defendants produced those documents in redacted form, omitting the portions identifying
confidential information about “research prepared at the direction of Perkins Coie and in
anticipation of litigation.” Ex. 15. Combined with the description of the subject matter of that
research and its relation to the legal representation provided by the declaration, see Levy
Decl. ¶¶ 6–8, 12, those narratives were both accurate and sufficient to discharge Defendants’
disclosure obligations.

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date, or authorship (none of which could be identified on the face of the documents with reasonable

certainty), neither was that information necessary for Plaintiffs to understand why Defendants

withheld those documents. As detailed in the logs, all of those documents consist of “[c]onfidential

research prepared at the direction of Perkins [] in anticipation of litigation, and for the purpose of

providing legal advice,” see, e.g., Lewis Decl., Ex. 13, at PRIV0000030, and the accompanying

declaration spells out the scope and subject matter of the research conducted at Perkins’s direction

and its relationship to Perkins’s representation of its clients. Neither the particular authorship of

the document nor the specific date on which it was prepared is necessary for Plaintiffs to

understand and contest Defendants’ basis for claiming privilege over those documents, as Plaintiffs

themselves prove by contesting Defendants’ basis for claiming privilege over those documents.

       Plaintiffs’ final (and entirely rhetorical) objection is that entries on the log asserting both

attorney-client privilege and work-product protection are of “dubious” validity. That complaint is

emblematic of Plaintiffs’ objections to the log as a whole. At root, their argument has nothing to

do with the content of the log and simply boils down to general skepticism about the foundation

of Defendants’ claims. As detailed above, however, Defendants have made clear their entitlement

to withhold documents on both privilege and work-product grounds.16 Plaintiffs’ objection reflects

nothing more than discontent with Defendants’ assertions dressed up as a claim of procedural

deficiency.

       In the end, Plaintiffs’ insistence on further detail is nothing more than an attempt to elevate

form over function. This Court should reject it.17


16
  There is no authority for the proposition that a party must choose between different meritorious
claims; quite the opposite, as failure to timely assert a privilege or protection may waive it. See
Banks v. Office of Senate Sergeant-At-Arms, 233 F.R.D. 1, 9 (D.D.C. 2005).
17
   Even if the Court were to conclude that any part of Defendants’ logs is deficient, Defendants
respectfully submit that they should be permitted to remedy those issues. Absent a finding of

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V.     CONCLUSION

       The documents Defendants withheld from production are properly subject to the attorney-

client privilege and/or work-product protection, and Defendants adequately discharged their

obligation to give Plaintiffs sufficient information to evaluate the bases for those privilege claims.

Plaintiffs’ motion to compel [Dkt. 95] should therefore be denied in its entirety.


                                               Respectfully submitted,

Dated: September 11, 2020
                                               By:    /s/ Joshua A. Levy

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“unjustified delay, inexcusable conduct, and bad faith,” the general recourse for privilege logs
deemed inadequate is ordering a revised privilege log. United States v. British Am. Tobacco (Invs.)
Ltd., 387 F.3d 884, 885 (D.C. Cir. 2004) (“‘[W]aiver of a privilege is a serious sanction’ that a
court should impose only if a party behaves unreasonably or worse.” (quoting United States v.
Phillip Morris Inc., 347 F.3d 951, 954 (D.C. Cir. 2003)); TIG Ins. Co. v. Fireman’s Ins. Co. of
Wash., D.C., 718 F. Supp. 2d 90, 97 (D.D.C. 2010) (“[T]he court generally does not deem a party
to have waived a privilege because it did not provide an adequate privilege log.”); Jackson Hosp.
Corp., 257 F.R.D. at 307 (review of documents in camera risks prejudice and so should “never be
any greater than absolutely necessary”).

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 11, 2020, the foregoing Memorandum in

Opposition was filed using CM/ECF, which serves a copy on all counsel of record.




                                                /s/ Joshua A. Levy

                                                Joshua A. Levy




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